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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    BAYOU CITY WATERKEEPER,                            §
                                                       §
                                    Plaintiff,         §
                                                       §      CIVIL ACTION NO. 4:18-CV-03369
    v.                                                 §      JUDGE ANDREW S. HANEN
                                                       §
    CITY OF HOUSTON,                                   §
                                                       §
                                    Defendant.         §

                            Plaintiff Bayou City Waterkeeper’s Status Report

          Bayou City Waterkeeper files this status report with the Court. Bayou City Waterkeeper

does not dispute the procedural history as it was outlined in the City of Houston’s (the “City”)

status report. (Doc 43 at 1-2). However, because the City’s status report was styled to also include

a request to extend the discovery stay, Bayou City Waterkeeper is filing its own status report to

provide the Court with necessary context. Bayou City Waterkeeper reserves its right to file a

separate response to the City’s request to extend the discovery stay.1

          As the City said in its status report, the related lawsuit filed against the City of Houston by

the United States of America and the State of Texas is now pending in Judge Eskridge’s court. See

United States et al. v. City of Houston, No. 4:18-CV-3368 (S.D. Tex.) (“EPA Action”). The motion

filed in the EPA’s Action to approve the Consent Decree has been fully briefed and the parties are

awaiting Judge Eskridge’s ruling. (See EPA Action, ECF Nos. 42-46).

          On January 22, 2021, the Court in this case requested a status report from the parties.

Counsel for Bayou City Waterkeeper conferred with counsel for the City and proposed filing one




1
  Although not styled as such, the City’s request to extend the discovery stay is an opposed motion, subject to LR7
regarding civil pretrial motion practice.
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joint status report. In response, counsel for the City expanded the proposal for a simple status

report to include the motion to extend the discovery stay. Rather than agree to a joint status report

or confer separately on the motion, counsel for the City filed the City’s status report on January

27, 2021. (Doc. 43).

       Counsel for Bayou City Waterkeeper invited the City's counsel to discuss the status of the

cases by phone and, as the United States’ enforcement action nears its conclusion, the potential for

limited discovery. Bayou City Waterkeeper will attempt to meet and confer with the City in the

coming days and prior to its 21-day response deadline. If it is necessary, Bayou City Waterkeeper

will file a response to the City’s motion to extend the discovery stay.



Date: January 27, 2021



                                      Respectfully submitted,

                                      By: /s/ David Frederick
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                                   Certificate of Service

       I certify that on January 27, 2021, I electronically filed this Plaintiff Bayou City
Waterkeeper’s Status Report using the CM/ECF system, which automatically sends notice and a
copy of the filing to all counsel of record.


                                          /s/ Lauren Ice
                                          Lauren Ice
                                          Attorney for Bayou City Waterkeeper




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